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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to the Antitrust Actions

                                                     ORDER

            THIS CAUSE came before the Court on Defendants’ 1 Motion to Dismiss the Antitrust

   Tranche Complaint [ECF No. 408]. Plaintiffs 2 filed a [Response] in Opposition [ECF No. 413],

   to which Defendants filed a Reply [ECF No. 419]. The Court has carefully considered The

   Corrected Consolidated Class Action Complaint (the “CCAC”) [ECF No. 416], the parties’ written

   submissions, the record, and applicable law. For the following reasons, the Motion is granted.

                                            I.      BACKGROUND

            This putative class action is brought on behalf of individual investors (the “Retail

   Investors”) who suffered losses as a result of Defendants’ response to a “short squeeze” — a

   situation in which stocks or other assets rise sharply in value, distressing short positions.3 (See id.



   1
    The Defendants are E*Trade Securities LLC; E*Trade Financial Holdings, LLC; Interactive Brokers LLC;
   Robinhood Markets, Inc.; Robinhood Financial LLC; Robinhood Securities, LLC; Citadel Securities
   LLC; Apex Clearing Corp.; Electronic Transaction Clearing, Inc.; and PEAK6 Investments LLC
   (collectively, “Defendants”). (See CCAC ¶¶ 51–75).
   2
    The Plaintiffs are Angel Guzman, Burke Minahan, Christopher Miller, and Terell Sterling (collectively,
   “Plaintiffs”). (See CCAC ¶¶ 23–41).
   3
     A “short” seller borrows a security believing the price of the security will decrease. (See CCAC ¶ 8). If
   the price of the security drops, the short seller buys the security back at a lower price and returns it to the
   lender. (See id.). Because the difference between the sell price and the buy price is the short seller’s profit,
   the short seller loses money if the price of the security increases. (See id.).
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   ¶ 12). This short squeeze occurred in late January 2021, as the Retail Investors rapidly purchased

   the Relevant Securities, 4 exposing those with short positions in the Relevant Securities to “massive

   potential losses[.]” (Id. ¶ 7 (alteration added); see id. ¶ 6). According to Plaintiffs, Defendants

   conspired to prevent these losses by “artificially constrict[ing] the price appreciation of the

   Relevant Securities,” in violation of the Sherman Act, 15 U.S.C. § 1. (CCAC ¶ 16 (alteration

   added); see id. ¶¶ 494–507).

           The parties.

           The Defendants. The CCAC categorizes Defendants into three 5 groups: the Clearing

   Defendants, the Brokerage Defendants, and the Market Maker Defendants. (See id. ¶¶ 51–75).




   4
     The “Relevant Securities” are certain stocks the Retail Investors believed would increase in price:
   GameStop (GME), AMC Entertainment (AMC), Bed Bath & Beyond (BBBY), BlackBerry (BB), Express
   (EXPR), Koss (KOSS), Nokia (NOK), Tootsie Roll Industries (TR), and Trivago NV (TRVG). (See CCAC
   ¶ 6).
   5
    In the CCAC, Plaintiffs allege there was a fourth group called the Introducing Brokerage Defendants (see
   CCAC ¶¶ 42–50), but they have since voluntarily dismissed those Defendants (see [ECF No. 380] (Stash
   Financial, Inc.); [ECF No. 396] (Open to the Public Investing, Inc.); [ECF No. 397] (Ally Financial Inc.);
   [ECF No. 398] (Alpaca Securities, LLC); [ECF No. 400] (Dough LLC); [ECF No. 401] (Tastyworks, Inc.);
   [ECF No. 402] (Webull Financial LLC); [ECF No. 404] (SoFi Securities LLC)). The Court refers to this
   group as the “Introducing Brokerages.”

   The Introducing Brokerages provide financial trading services through an electronic trading platform. (See
   CCAC ¶¶ 42–44, 46, 47, 49, 50). During the relevant period, each Introducing Brokerage restricted and/or
   limited the ability of investors to purchase the Relevant Securities. (See id.).

   Because the Introducing Brokerages are only introducing brokerages — as opposed to self-clearing
   brokerages — they contract with an independent clearing firm to handle the execution and settlement of
   securities trade orders from clients or their own trading desks, rather than handle the process themselves.
   (See id. ¶¶ 105, 111). The independent clearing firm receives payments and maintains custody of the
   security. (See id. ¶ 111). At all relevant times, each Introducing Brokerage used a Clearing Defendant as
   its clearing firm. (See id. ¶¶ 42–44, 46, 47, 49, 50).


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           The Clearing Defendants.           Defendants, Apex Clearing Corporation (“Apex”) and

   Electronic Transaction Clearing, Inc. (“ETC”), are, collectively, the “Clearing Defendants[.]” 6

   (Id. ¶¶ 66–75 (alteration added)).

           The Clearing Defendants are independent clearing firms: they handle the back-office

   details of securities transactions for broker-dealers, such as the Introducing Brokerages. (See id.

   ¶ 105). Independent clearing firms are supervised by the Financial Industry Regulatory Authority

   (“FINRA”) and the Depository Trust and Clearing Corporation (“DTCC”). 7 (See id. ¶¶ 96–97,

   108, 110). Apex and ETC acted as the clearing firms for one or more of the Introducing

   Brokerages. (See id. ¶¶ 42–44, 46, 47, 49, 50).

           The Brokerage Defendants.            Defendants, E*Trade; 8 Interactive Brokers LLC; and

   Robinhood, 9 are, collectively, the “Brokerage Defendants[.]” (Id. ¶¶ 51–63 (alteration added)).


   6
    Apex Clearing Holdings LLC and Defendant, PEAK6 Investments LLC, are the parent corporations of
   Defendants, Apex and ETC. (See CCAC ¶¶ 67, 70).
   7
     The DTCC is a holding company that owns and operates three clearing agencies registered with the U.S.
   Securities and Exchange Commission (“SEC”): the National Securities Clearing Corporation (“NSCC”),
   the Fixed Income Clearing Corporaton (“FICC”), and the Depository Trust Company (“DTC”). (See CCAC
   ¶ 96). The NSCC is the central counterparty that clears cash transactions in the U.S. equities markets by
   netting securities deliveries and payments among NSCC’s clearing members and guaranteeing the
   completion of trades, even if one party to the transaction defaults. (See id. ¶ 98). It takes two business days
   for the NSCC to transfer the security to the buyer and the cash to the seller. (See id. ¶ 101). If a clearing
   member defaults on its settlement obligations, the NSCC guarantees the delivery of cash and securities to
   its non-defaulting members. (See id. ¶ 102).

   In line with the CCAC and the parties’ briefings, the Court refers to the DTCC and NSCC interchangeably.
   8
    Defendant, E*Trade Financial Holdings, LLC (see CCAC ¶ 52), is the parent corporation of Defendant,
   E*Trade Securities LLC (see Mot. 22 n.9; Resp. 47). The Court refers to these two Defendants collectively
   as “E*Trade[.]” Doing so has no impact on the Court’s analysis.

   The Court uses the pagination generated by the electronic CM/ECF database, which appears in the headers
   of all court filings.
   9
    Defendants, Robinhood Markets, Inc.; Robinhood Financial LLC; and Robinhood Securities, LLC, are,
   collectively, “Robinhood[.]” Robinhood Financial LLC and Robinhood Securities, LLC are wholly-owned
   subsidiaries of Robinhood Markets, Inc. (See CCAC ¶¶ 58, 60). Defendants dispute the inclusion of
   Robinhood as a self-clearing broker, arguing Robinhood Financial LLC is an introducing broker entity
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          The Brokerage Defendants act as self-clearing brokers: they act as both an introducing

   broker and as their own clearing firm. (See id. ¶¶ 54, 56, 63, 113). In other words, the Brokerage

   Defendants handle orders to buy and sell securities, as well as execute and settle orders, maintain

   custody of securities and other assets, and maintain the paperwork associated with clearing and

   executing a transaction. (See id. ¶ 113). Self-clearing brokers are subject to DTCC rules and

   regulations. (See id. ¶ 116).

          The Market Maker Defendant. 10 Defendant, Citadel Securities LLC, is the only named

   “Market Maker Defendant[] [.]” (Id. ¶¶ 64–65 (alterations added)).

          Citadel Securities is a market maker: it acts as a market participant by providing bid prices

   and ask prices for securities; maintaining an inventory of securities from its own trading; and

   matching incoming buy and sell orders to fill those orders. (See id. ¶ 118). Relevant here, “if a

   market maker receives an order to buy a certain security, it may route that order to an exchange or

   it may execute the orders off-exchange in its capacity as a dealer by transacting against the buy

   orders with contra-side sell order, either from its own inventory or by selling the security short.”

   (Id. ¶ 124). Citadel Securities took short positions in the Relevant Securities during the relevant

   period. (See id. ¶ 65).

          Agents and co-conspirators.        Defendants’ alleged acts “were authorized, ordered or

   performed by the Defendants’ respective officers, agents, employees, representatives, or

   shareholders while actively engaged in the management, direction, or control of the Defendants’

   businesses or affairs.” (Id. ¶ 76). The Defendant parent entities exercise dominance and control



   separate from Robinhood Securities, LLC, the clearing entity. (See Mot. 13, 14 n.2). This distinction,
   however, has no impact on the Court’s analysis.
   10
    Although Plaintiffs refer to “Market Maker Defendants” (see, e.g., CCAC ¶ 92), Plaintiffs name only one
   Market Maker Defendant (see id. ¶¶ 64–65).
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   over all their subsidiary entities; and the Defendant subsidiary entities have a unity of purpose and

   interest with their respective parents. (See id. ¶¶ 76–78). In addition, “[e]ach Defendant acted as

   the principal, agent, or joint venture of, or for other Defendants with respect to the acts, violations,

   and common course of conduct alleged[.]” (Id. ¶ 80 (alterations added)). Plaintiffs allege there

   may be various persons and/or firms that have participated as co-conspirators but are unknown at

   this time. (See id. ¶ 79).

           The Plaintiffs. The named Plaintiffs are four individual investors who were subject to

   trading limitations imposed on the Relevant Securities between January 28, 2021 and February 4,

   2021 (the “Class Period”). (See id. ¶¶ 23–41). Each Plaintiff held shares of one or more of the

   Relevant Securities at the close of the stock market on January 27, 2021. (See id. ¶¶ 23, 28, 33,

   38). The next day, January 28, 2021, each Plaintiff was prohibited from purchasing the Relevant

   Securities on Robinhood’s trading platform. (See id. ¶¶ 24, 29, 34, 39).

          That same day, Guzman and Miller applied for accounts with Charles Schwab, Fidelity,

   and TD Ameritrade — who were not prohibiting customers from purchasing the Relevant

   Securities — but were unable due to the amount of time required to set up the accounts. (See id.

   ¶¶ 25, 35). Minahan successfully applied for an account with Fidelity and was able to purchase a

   share of GameStop Corp. stock that day. (See id. ¶ 30). Each Plaintiff then sold his or her shares

   of the Relevant Securities on Robinhood between January 28, 2021 and February 4, 2021. (See

   id. ¶¶ 26–27, 31–32, 36–37, 40–41).

           Injury and proposed class. According to the named Plaintiffs:

           As a direct and intended result of Defendants [sic] contract, combination,
           agreement and restraint of trade or conspiracy, Defendants caused injury to
           Plaintiffs by restricting purchases of Relevant Securities. The Brokerage
           Defendants deactivated the buy option on their platforms and left Plaintiffs with no
           option but to sell shares of the stocks on their platforms. Plaintiffs and Class
           members, faced with an imminent decrease in the price of their positions in the

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           Relevant Securities due to the inability of Retail Investors to purchase shares, were
           induced to sell their shares in the Relevant Securities at a lower price than they
           otherwise would have, but for the conspiracy, combination, agreement and restraint
           of trade.

   (Id. ¶ 501).

           The named Plaintiffs seek to certify the following class:

           All persons or entities in the United States that held shares of stock or call options
           in GameStop Corp. (GME), AMC Entertainment Holdings Inc. (AMC), Bed Bath
           & Beyond Inc. (BBBY), BlackBerry Ltd. (BB), Express, Inc. (EXPR), Koss
           Corporation (KOSS), Nokia Corp. (NOK), Tootsie Roll Industries, Inc. (TR), or
           Trivago N.V. (TRVG) as of the close of market on January 27, 2021, and sold the
           above-listed securities from January 28, 2021 up to and including February 4, 2021
           (the “Class Period”).

   (Id. ¶ 81).

           The alleged facts.

           Mechanics of securities trading. Individual investors’ market share of U.S. equity trading

   has steadily increased since 2019 and has recently accounted for a third of all U.S. stock market

   trading. (See id. ¶¶ 130–31). When individual investors make investments on their own behalf,

   they execute their personal trades through websites, apps, and trading platforms provided by

   brokerage firms or other investment service providers. (See id. ¶ 2). After an individual investor

   places a trade order with a brokerage firm, the brokerage sends the order to an independent clearing

   firm for clearing services if it is only an introducing broker, or the brokerage firm performs the

   clearing services itself if it is a self-clearing broker. (See id. ¶¶ 105, 108, 111, 129). The

   independent clearing firm or self-clearing broker then executes the trade order itself or sends the

   order to a market maker for execution. (See id. ¶¶ 105, 113, 122).

           Market makers are market participants who provide bid prices and ask prices and match

   incoming buy and sell orders to fill those orders. (See id. ¶ 118). Market makers fill these orders

   from their own inventory, by routing the order to an exchange, or by taking the other side of a


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   transaction (e.g., selling a security short in response to receiving an order to buy the security). (See

   id. ¶¶ 118, 123–24). Once an order is filled, the market makers pocket the difference between the

   bid and ask prices, which is known as the “spread.” (See id. ¶ 118). While the spreads may be

   small, they become significant due to the large volume of orders filled. (See id.).

          Although individual investors historically had to pay a fee or commission to their

   brokerages for executing personal trades, today most brokerages do not charge their investors a

   fee per transaction. (See id. ¶ 3). Instead, in exchange for routing the order to the market maker,

   brokerages earn revenue through rebates, kickbacks, and other payments — these payments are

   collectively known as payment for order flow. (See id. ¶¶ 3, 133–35). Clearing firms also generate

   a significant portion of their revenue from payment for order flow. (See id. ¶ 107).

          After an order is filled, the details of the executed order are sent to the NSCC for

   clearinghouse and settling services. (See id. ¶¶ 101, 129). Securities trades submitted to the NSCC

   take two days to settle — i.e., it takes two business days for the cash and the securities to be

   electronically exchanged. (See id. ¶ 101). As stated, because there is a risk that a party to a

   securities transaction defaults before the trade is completed, the NSCC guarantees the delivery of

   cash and securities to its non-defaulting members. (See id. ¶ 102).

          The NSCC collects clearing fund contributions, or margin, from clearing members at the

   start of each day and intraday in volatile markets. (See id. ¶ 103). The margin protects the NSCC

   and all market participants against clearing member defaults, and margin requirements must be

   met by clearing members on a timely basis. (See id.). Margin requirements are based in part on

   market volatility and risk. (See id. ¶ 470). The rules for calculating the contribution requirements

   and the timing of collection of contributions are known to every clearing member; and the NSCC




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   provides reporting tools, calculators, and documentation to allow the members to monitor their

   risk in near real-time and estimate clearing fund contribution requirements. (See id. ¶ 103).

           January 2021 market volatility. The Retail Investors exchange investment information

   via online discussion forums such as the WallStreetBets financial discussion forum on Reddit.

   (See id. ¶¶ 141, 180). WallStreetBets is characterized by a particular culture centered around

   discussion of financial investments and memes; many of its users are sophisticated, financially

   savvy individual investors with business acumen. (See id. ¶ 180).

           Beginning in 2019, the Retail Investors, through these online discussion forums, developed

   the hypothesis that shares of GameStop’s stock were trading at lower prices than they should have

   been based on GameStop’s publicly available financial disclosures and prospects. (See id. ¶ 141).

   The Retail Investors deduced that GameStop was undervalued for a variety of reasons, including

   because large financial institutions had taken substantial short positions in GameStop stock. (See

   id. ¶ 142). These substantial short positions would bear significant costs if the outlook on

   GameStop improved and the short positions had to be exited. (See id.). The Retail Investors saw

   similar investment opportunities in the other Relevant Securities. (See id. ¶¶ 143–44).

           Leading up to January 27, 2021, the Retail Investors, through stock brokerages, including

   the Brokerage Defendants, purchased long positions in the Relevant Securities with the expectation

   that the stocks would increase in value. (See id. ¶¶ 6, 91, 148). As more investors purchased the

   Relevant Securities and “out of the money” call options 11 in the Relevant Securities, the market

   prices for the stocks rose due to supply and demand. (See id. ¶¶ 146, 162). The Relevant Securities

   started appreciating to “unprecedented levels.” (Id. ¶ 14).



   11
     A call option gives the holder the right to buy the asset at a stated fixed price or the “strike price.” (See
   CCAC ¶ 166). An “out of the money” option has a strike price unfavorable in comparison to the market
   price for the underlying asset. (See id. ¶ 169).
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           To illustrate this rapid growth, a share of GameStop stock was worth $3.00 in 2019 (see

   id. ¶ 142); $43.03 on January 21, 2021 (see id. ¶ 185); $76.79 on January 25, 2021 (see id.);

   $147.98 on January 26, 2021 (see id. ¶ 188); and $380.00 on January 27, 2021 (see id. ¶ 190).

   GameStop’s stock price reached a closing high of $347.51 on January 27, 2021 — a 134.84%

   increase from the previous day. (See id.). Other Relevant Securities experienced similar surges;

   for example, AMC’s and Express’s share prices increased over 300% and 200%, respectively.

   (See id.).

           As Retail Investors increased long positions in the Relevant Securities, those who held

   short positions in the Relevant Securities, such as Citadel Securities (see id. ¶¶ 7, 195–96), were

   caught in a short squeeze. (See id. ¶¶ 162–63). Investors with these short positions were faced

   with a rapid increase in the shorted assets’ values, exposing short sellers to increased and

   theoretically limitless losses because the short sellers must at some point buy back the stocks to

   return them to their lenders. (See id. ¶¶ 8, 12, 163). 12

           Around 5:00 p.m. on January 27, 2021, the SEC released a statement indicating it was

   “aware of and actively monitoring the on-going market volatility in the options and equities

   markets,” but neither the SEC nor any other government agency issued any directive to restrict

   trading in the Relevant Securities. (Id. ¶ 200 (quotation marks omitted)).




   12
      Another phenomenon known as a “Gamma squeeze” occurred as the prices of the Relevant Securities
   increased. (See CCAC ¶¶ 162, 164). Options are priced based on a variety of risk variables, including one
   called “Gamma,” which increases as the option nears its expiration date or as the option approaches its
   strike price (i.e. “being in the money”). (See id. ¶¶ 170, 172–74, 177). When a security experiences a sharp
   price increase, the Gamma increases; stated differently, options that were previously unlikely to reach their
   strike prices before expiration become more likely to. (See id. ¶ 176–78). As the Gamma increases, market
   makers hedge by purchasing more of the underlying security, which further drives the price of the security
   higher and creates a feedback loop as even deeper out of the money options approach their strike price.
   (See id. ¶ 178).
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            Events of January 28, 2021. Analytics reveal a significant volume of GameStop short

    position transactions during after-hours trading immediately before the markets opened on January

    28, 2021. (See id. ¶ 212). Because retail brokers do not allow individual investors to engage in

    after-hours trading to the same extent as institutional investors, it is likely that this increase in short

    volume was the result of institutional investors, like Citadel Securities, taking new short positions.

    (See id. ¶ 213). Additionally, failure to delivers (“FTDs”) rose dramatically in the period leading

    up to January 28, 2021, a phenomenon consistent with increasing short interest by market makers

    like Citadel Securities. 13 (See id. ¶ 218).

            This increase in short positions was counterintuitive, considering chatter in various

    financial discussion forums indicated high excitement and motivation on the part of Retail

    Investors to continue investing in the Relevant Securities. (See id. ¶ 228). Many Retail Investors

    had announced plans to increase long positions in the Relevant Securities on January 28, 2021.

    (See id.).

            Around 1:00 a.m. EST on January 28, 2021, Robinhood informed its users that in “light of

    unprecedented volatility surrounding [GameStop] and AMC [stock], and in an effort to help reduce

    risk, all [GameStop] and AMC options with expirations of January 29[], 2021 [would] be set to

    closing transactions only.” (Id. ¶ 229 (alterations added)). Customers would be able to close out

    their positions in GameStop and AMC but could not make new investments. (See id.).

            At 5:11 a.m. EST, Robinhood received an email from the NSCC titled “NSCC Daily

    Margin Statement” indicating that Robinhood had a collateral requirement deficit of over $3

    billion. (Id. ¶ 231). At 8:00 a.m. EST, Gretchen Howard, Robinhood’s COO, messaged internally


    13
       An FTD occurs when one party in a trading contract, such as in a short transaction, does not deliver on
    its obligations. (See CCAC ¶ 214). FTDs are indicative of naked short selling, which occurs when a short
    seller does not actually possess the security it is supposed to borrow. (See id. ¶ 215). This practice is
    largely inaccessible to individual investors but accessible to market makers. (See id. ¶ 217).
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    that Robinhood had a “major liquidity issue” and it was moving the Relevant Securities to Position

    Close Only (“PCO”), i.e., Robinhood users could sell the Relevant Securities but could not buy

    them. (Id. ¶ 233 (quotation marks omitted)). Shortly thereafter, in an internal Robinhood message,

    a manager asked David Dusseault, Robinhood Financial’s President and COO, whether Robinhood

    made AMC and GameStop stocks PCO, to which Dusseault responded: “[Robinhood Securities]

    received a very large call — confidentially, all firms on street Jim is saying [sic] are doing [the]

    same thing[.]” (Id. ¶ 244 (alterations added; quotation marks omitted)).

           Robinhood moved the Relevant Securities to PCO by the time the markets opened on

    January 28, 2021. (See id. ¶¶ 232–34). Robinhood users were no longer able to purchase the

    Relevant Securities — the “buy” button was deactivated as a feature, leaving users with no option

    but to sell or hold their securities. (See id. ¶¶ 235–36). On Robinhood’s web platform and mobile

    app, users were blocked from searching for the Relevant Securities’ ticker symbols. (See id.

    ¶ 239). Robinhood also canceled overnight purchase orders of the Relevant Securities placed on

    January 27, 2021 and queued to move forward when the markets opened on January 28, 2021.

    (See id. ¶ 237).

           Customers were not given advance notice of the restriction of the Relevant Securities to

    PCO. (See id. ¶ 234). Robinhood announced the news on January 28, 2021 by tweeting that it

    was restricting the Relevant Securities to PCO due to market volatility. (See id. ¶¶ 248, 251–53).

           The other Brokerage Defendants similarly prevented the Retail Investors from opening

    new positions in one or more of the Relevant Securities on January 28, 2021. (See id. ¶ 246).

    Around 9:05 a.m. on January 28, 2021, Interactive Brokers announced that it placed AMC, BB,

    EXPR, GME, and KOSS option trading into liquidation due to the “extraordinary volatility” in the




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    markets. (Id. ¶ 249). E*Trade halted GME and AMC, citing “extraordinary volumes” as the

    reason. (Id. ¶ 250 (quotation marks omitted)).

           While not all brokerages restricted the purchase of the Relevant Securities, the Introducing

    Brokerages restricted trading because the Clearing Defendants raised fees to purchase the Relevant

    Securities or otherwise instructed the brokerages not to consummate purchase orders. (See id.

    ¶¶ 270–71, 273, 278). For instance, Anthony Denier, Webull Financial’s CEO, blamed Webull’s

    clearing firm, Apex, for its restrictions on trading in the Relevant Securities placed on January 28,

    2021. (See id. ¶ 274). Apex informed Denier that Webull needed to shut off the ability to open

    new positions in certain stocks after Apex learned that the DTCC was increasing the collateral

    needed to settle trades for the Relevant Securities. (See id.). Several other Introducing Brokerages

    also reported that Apex instructed them to halt all opening transactions of GameStop, AMC, and

    Koss on their platforms, while ETC prohibited Alpaca from allowing its users to purchase the

    Relevant Securities. (See id. ¶¶ 275–77). Apex cited increasing collateral requirements for the

    restrictions it imposed on trading, including through the Introducing Brokerages. (See id. ¶ 479).

           Altogether, numerous brokerages blocked the Retail Investors from purchasing the

    Relevant Securities. (See id. ¶¶ 254, 269). Some restricted the Retail Investors from buying or

    opening new long positions in securities altogether, whereas others restricted purchasing options

    only. (See id. ¶ 269).

           This broad prohibition on buying the Relevant Securities led to a massive sell-off, which

    in turn resulted in a steep decline in the prices of the Relevant Securities. (See id. ¶ 255). For

    example, on January 28, 2021, GameStop shares reached an intraday peak of $483.00 before

    dropping down to a closing price of $193.60 — a 44.29% drop from the closing price of $347.51

    the day before. (See id. ¶ 256). Similarly, AMC shares dropped 56.63%, EXPR shares fell



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    50.79%, and BBBY shares declined 36.40%. (See id.). The Retail Investors who wanted to take

    advantage of the price drops to buy more shares of the Relevant Securities were unable to do so

    due to the prohibition on purchasing. (See id.).

            While individual investors were prohibited from purchasing the Relevant Securities,

    institutional investors were not. (See id. ¶ 267). Large investment firms were able to purchase the

    Relevant Securities at artificially reduced prices because they had access to private stock

    exchanges known as “dark pools.” 14 (See id.). Citadel Securities and other firms with short

    positions bought the Relevant Securities at artificially reduced prices to close out their positions

    by returning the borrowed securities they had sold short. (See id. ¶¶ 267–68).

            Events after January 28, 2021. As the market opened on January 29, 2021, nearly all the

    Brokerage Defendants had lifted their trading restrictions and permitted individual investors to

    open new long positions in the Relevant Securities; even so, the Brokerage Defendants continued

    to heavily restrict such purchases. (See id. ¶¶ 319, 321). Robinhood, for example, placed

    limitations on the number of new positions its users could open in the Relevant Securities,

    including by limiting purchases of GameStop stock to two shares. (See id. ¶¶ 323–24). The next

    day, January 30, as the Relevant Securities began to regain their value, Robinhood instituted a one

    share limit on certain Relevant Securities, including GME and AMC. (See id. ¶ 325). Robinhood

    maintained trading limitations on certain securities through February 4, 2021. (See id. ¶ 336).

    Restrictions like these continued to suppress the value of the Relevant Securities and pressured

    investors to sell these stocks. (See id. ¶¶ 321, 325, 331).



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      Private stock exchanges are known colloquially as “dark pools” or “dark exchanges” because they do not
    disseminate public quotations of securities prices. (See CCAC ¶¶ 151–54). Through these private
    exchanges, institutional investors can discreetly buy or sell securities in large blocks, mitigating some of
    the price impacts that their buying or selling activity would otherwise have on a “lit,” or public, national
    securities exchange. (See id. ¶ 154).
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            On January 31, 2021, Vlad Tenev, Robinhood’s CEO, explained in an opinion piece

    published in USA TODAY that Robinhood maintained trading restrictions because clearinghouse-

    mandated deposit requirements were “increased ten-fold.” (Id. ¶ 338 (quotation marks omitted)).

    Robinhood had announced two days earlier that it raised more than $1 billion to help meet rising

    demands for cash and shore up its balance sheet. (See id. ¶ 336). This money raised was on top

    of $500 million Robinhood accessed through credit lines to ensure it had the capital required to

    allow its clients to trade the Relevant Securities. (See id.). On February 1, 2021, Robinhood

    announced it raised an additional $2.4 billion in funding above the $1 billion it had already raised.

    (See id.). Weeks later, while testifying before the U.S. House Committee on Financial Services,

    Tenev testified that Robinhood met its revised deposit requirements a little after 9:00 a.m. on

    January 28, 2021. (See id. ¶ 340).

            Apex also initially cited increased collateral requirements as the reason for the restrictions

    it imposed on trading, including through other Brokerage Defendants. (See id. ¶ 479). Later, on

    February 9, 2021, Apex sent a letter to the New Jersey Office of the Attorney General, stating that

    it imposed the restrictions due “to the potential future collateral requirement that NSCC appeared

    it may impose on Apex[.]” (Id. ¶ 480 (alteration added)). Tricia Rothschild, Apex’s president,

    explained in an interview with Financial Planning on March 4, 2021, that Apex had “headroom in

    terms of the capital available” and “lines of credit that” it could call on, but still restricted trading

    on January 28, 2021 “due to anomalous information.” (Id. ¶ 481 (quotation marks omitted); see

    id. ¶ 341).

            In the period following January 28, 2021, the SEC continued to closely monitor the price

    volatility of the Relevant Securities. (See id. ¶ 337). On February 1, 2021, then acting SEC Chair

    Allison Herren Lee stated that the SEC would “closely review actions taken by regulated entities



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    that may disadvantage investors or otherwise unduly inhibit their ability to trade certain securities.”

    (Id. (quotation marks omitted)). She also specified that the SEC was investigating the role that

    short selling may have played in the recent events. (See id.).

            Publicly available data reveals short interests in the Relevant Securities generally climbed

    leading up to January 28, 2021 (see id. ¶¶ 346–47, 361), and then decreased because of the trading

    restrictions imposed during the Class Period, with the sharpest and most significant decreases

    occurring after the restrictions imposed on January 28, 2021 (see id. ¶¶ 342–49). FINRA data

    shows significant increases in dark pool trading activity for each of the Relevant Securities on and

    around January 28, 2021, during the period when restrictions were first placed on the Relevant

    Securities. (See id. ¶¶ 350–56). Given that the Retail Investors are generally not able to trade in

    dark pools and dark exchanges, this trading activity indicates high institutional investor trading

    activity consistent with the exiting of short positions. (See id. ¶ 357).

            More specifically, given the scale of Citadel Securities’ business, the FINRA data indicates

    that the bulk of the trading activity can be attributed to Citadel Securities. (See id. ¶¶ 358–61).

    Because Citadel Securities accounts for about 50% of dark trading activity, a large shift in the

    percentage of sales represented by short trades is likely to be caused by a shift in Citadel Securities’

    position from long to short or vice versa. (See id. ¶ 360).

            Collusion among Defendants. The CCAC alleges “Defendants were aware that they were

    acting in concert to collude and manipulate the market.” (Id. ¶ 279).

            Motive to collude. According to the CCAC, “Defendants shared a common motive to

    conspire — to prevent themselves, and their peers, from hemorrhaging losses totaling potentially

    billions of dollars.” (Id. ¶ 406).




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           Citadel Securities possessed significant short positions in the Relevant Securities during

    the period in question. (See id.). As the prices of the Relevant Securities surged to unprecedented

    levels, Citadel Securities was exposed to potentially infinite losses. (See id. ¶¶ 14, 406). As of

    December 31, 2020, Citadel Securities reported $57.5 billion in “securities sold, not yet purchased,

    at fair value” — which the CCAC asserts are “likely representative of Citadel Securities’s short

    position.” (Id. ¶ 407 (quotation marks omitted)).

           Each of the Brokerage Defendants and Clearing Defendants earns revenue from payment

    for order flow sold to market makers. (See id. ¶¶ 412, 416–18). Robinhood, for example, earns

    somewhere between 60% and 70% of its revenue by selling its order flow — the primary purchaser

    of which is Citadel Securities. (See id. ¶ 417). As for the other Brokerage Defendants and the

    Clearing Defendants, Citadel Securities is either the largest or one of the largest payors for order

    flow. (See id. ¶ 418).

           Communications among Defendants. In the lead up to, during, and after January 28, 2021,

    high-level executives of Citadel Securities were able to communicate with brokerages, including

    Robinhood, due to pre-existing relationships among them. (See id. ¶ 296).

           On January 20, 2021, Citadel Securities’ Head of Execution Services extended an unknown

    proposition to Josh Drobnyk, Robinhood’s Vice President of Corporate Relations and

    Communications, who conferred with Daniel Gallagher and Lucas Moskowitz, Robinhood’s Chief

    Legal Officer and Deputy General Counsel, respectively. (See id. ¶¶ 297–98). The Citadel

    Securities executive and Drobnyk had a prior relationship through Drobnyk’s employment at

    FINRA. (See id. ¶ 297). On January 25, 2021, Drobnyk responded via email “[w]e are on board”

    and that Moskowitz would be the central point of contact for Robinhood. (Id. ¶ 300 (quotation

    marks omitted)). The Citadel Securities executive responded to Moskowitz with an offer to chat,



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    emphasizing the “strong relationship between the firms[.]” (Id. ¶ 302 (alteration added)). The

    details of the ensuing January 26, 2021 phone call have not been disclosed. (See id. ¶¶ 302–03).

            On January 27, 2021, the day before the trading restrictions were implemented, Citadel

    Securities and Robinhood high-level employees exchanged several communications. (See id.

    ¶ 304). In an internal conversation around 4:40 p.m., Howard informed Tenev that she, along with

    Gallagher and Jim Swartwout, President and CEO of Robinhood Securities, would be joining “a

    call with Citadel” at 5:00 p.m. that day. (Id. ¶ 307; see id. ¶ 305). Howard indicated she believed

    Citadel Securities would make demands on limiting payment for order flow. (See id. ¶¶ 305, 307).

    Tenev responded that “[m]aybe this would be a good time for me to chat with Ken [G]riffin” and

    told Howard, “[y]ou guys can mention that[.]” (Id. ¶ 307 (quotation marks omitted; alterations

    added)). Tenev noted that he had never met Griffin, the CEO of Citadel Securities, before. (See

    id.).

            Shortly thereafter, around 6:25 p.m., Robinhood’s Senior Director of Clearing Operations

    informed Swartwout in an internal chat that there is “[a]necdotal evidence that several ‘very large’

    firms are having really bad nights too.” (Id. ¶ 308 (quotation marks omitted)). Swartwout replied,

    “everyone is. [Y]ou wouldnt [sic] believe the conv[ersation] we had with Citadel. [T]otal mess[.]”

    (Id. (alterations added)). At 8:16 p.m., Swartwout updated a Citadel Securities employee that he

    was “[s]till looking for the new Citadel numbers.” (Id. ¶ 310 (alteration added)). The Citadel

    Securities employee responded, “[f]irming up right now in light of the follow up conversation

    between Gallagher and [redacted.]” (Id. (alterations added)).

            At 8:29 p.m. that evening, the Citadel Securities Vice President of Business Development

    notified Swartwout that one of its executives, who Tenev had met before, was available to speak

    to Tenev that night. (See id. ¶¶ 311, 313). Swartwout replied, “[b]ecause of our partnership, Vlad



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    would like to have a discussion with Ken [Griffin] at some point, just given our relationship. Not

    specific to this crazy issue[.]” (Id. ¶ 313 (alterations added); see id. ¶ 312). Swartwout emailed in

    the same chain later that night that he was “beyond disappointed in how this went down[,]” and

    that it is “difficult to have a partnership when these kind[s] of things go down this way.” (Id. ¶ 313

    (alterations added)).

            On the morning of January 28, 2021, Robinhood Securities executives participated in “a

    very large call — confidentially.”      (Id. ¶ 244 (quotation marks omitted)).         Swartwout told

    Dusseault that “all firms on street . . . are doing [the] same thing[.]” (Id. (alterations added)). Later

    that day, employees of Citadel Securities communicated with high-level employees of E*Trade to

    ensure certain orders were cancelled. (See id. ¶¶ 315–16).

            Plaintiffs allege two specific communications among Defendants in the days following

    January 28, 2021. (See id. ¶¶ 327–35). First, on January 29, 2021, Apex notified Robinhood about

    a post on WallStreetBets indicating that the Retail Investors found a loophole allowing them to

    purchase shares of the Relevant Securities above Robinhood’s imposed limitations. (See id.

    ¶ 330). This assistance came even though Apex had already lifted its restrictions and did not have

    an economic relationship with Robinhood at the time. (See id. ¶¶ 457–58).

            Second, on January 30, 2021, a Citadel Securities executive sent an email to Drobnyk,

    stating he “wanted to generally coordinate messaging[.]” (Id. ¶ 335 (alteration added); see id.

    ¶ 333). The Citadel Securities executive also introduced Drobnyk to someone who was “running

    point on this narrative for [them]” and copied company lawyers “as an FYI and for privilege.” (Id.

    ¶ 335 (alteration added); see id. ¶ 333).

            Actions against unilateral self-interest.        The Brokerage Defendants and Clearing

    Defendants sell order flow. (See id. ¶ 427). Firms that sell order flow, like Robinhood, benefit



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    the more investors transact on their platforms. (See id. ¶¶ 420, 423, 425). Because these entities

    earn order flow revenue — which is generated by volume — restricting trading is an action against

    their unilateral self-interest. (See id. ¶¶ 420, 426).

            Likewise, Citadel Securities, who pays for order flow and earns revenue through spreads,

    benefits from a large volume of transactions. (See id. ¶ 428). If any entity that sells it order flow

    restricts trade, Citadel Securities will lose revenue from the reduced volume of orders and the

    number of spreads it can pocket. (See id.).

            In addition to lost order flow revenue, when Apex restricted trading in the Relevant

    Securities, it was unable to generate revenue from users purchasing the shares and from using those

    shares as stock loans to generate even further revenue. (See id. ¶ 422).

            Opportunities to coordinate and collude. Along with the referenced communications

    between some of the Defendants, the CCAC states certain features of the financial services

    industry potentially afford Defendants opportunities to coordinate and collude. (See id. ¶¶ 442–

    58). The industry is close-knit and built on preexisting relationships; and it is replete with

    specialized jargon, terms of art, and specialized terminology, providing those in the industry a

    common language. (See id. ¶ 445). Further, individuals within the industry frequently move from

    one market participant to another or invest financial resources in other market participants. (See

    id. ¶ 446).

            Evidence of concealment and pretext. Plaintiffs allege that many of the communications

    between certain Defendants were verbal or telephonic to avoid detection. (See id. ¶ 460).

            In addition, Plaintiffs claim that both Robinhood and Apex provided “changing and

    conflicting explanations for the trading restrictions.” (Id. ¶ 465; see id. ¶ 478). On January 28,

    2021, Robinhood explained that it restricted trading due to market volatility. (See id. ¶ 466).



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    Tenev also told the media that the shutdowns were unrelated to Robinhood’s liquidity and

    Robinhood did not have a liquidity problem. (See id. ¶ 467). Later, Robinhood blamed the trading

    restrictions on being unable to meet the deposit requirements imposed by clearinghouses. (See id.

    ¶ 468).

              More specifically, when Tenev testified before the House Financial Services

    Subcommittee, he explained that the trading restrictions were put in place to meet regulatory

    deposit requirements imposed by the DTCC affiliate, the NSCC. (See id. ¶ 469). Michael Bodson,

    the President of the DTCC, testified to the House Financial Services Subcommittee that the

    decision to restrict trading was internal to Robinhood and the DTCC and NSCC did not have

    discussions about restricting securities. (See id. ¶ 472). Further, Plaintiffs assert that Robinhood

    Securities would have at all times known how much collateral the DTCC may ask it to post to

    cover customer trades. (See id. ¶¶ 470–71).

              As for Apex’s conflicting explanation, on January 28, 2021, Apex cited increasing

    collateral requirements for the restrictions it imposed on trading, including through the Introducing

    Brokerages. (See id. ¶ 479). On March 4, 2021, however, Rothschild stated that Apex restricted

    trading “due to anomalous information” and that “it was not a similar situation to Robinhood.”

    (Id. ¶ 481 (quotation marks omitted)).

              Government Investigations. Several governmental entities have investigated the trading

    restrictions imposed on January 28, 2021. (See id. ¶¶ 486–93). The Congressional House

    Financial Services Committee issued subpoenas and held three highly publicized hearings

    regarding the restrictions, and the Senate Banking Committee also held hearings on the topic. (See

    id. ¶¶ 487–88). The fraud division of the Department of Justice and the San Francisco U.S.

    Attorney’s office have also sought information about the restrictions from brokers and social media



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    companies. (See id. ¶¶ 489, 492). And according to GameStop’s 10-Q report dated June 9, 2021,

    the SEC is investigating the trading restrictions imposed on January 28, 2021. (See id. ¶ 490).

              Robinhood’s Focus Report filed with the SEC on February 26, 2021 confirms many of

    these investigations and reveals that Robinhood received inquiries related to the trading restrictions

    from the U.S. Attorney’s Office of the Northern District of California, the SEC’s Division of

    Examinations, FINRA, the New York Attorney General’s Office, the offices of other states’

    Attorneys General, and Congress. (See id. ¶ 491). On June 30, 2021, FINRA announced that

    Robinhood was ordered to pay a record financial penalty of $70 million for “systemic supervisory

    failures and significant harm suffered by millions of customers.” (Id. ¶ 493 (quotation marks

    omitted)).

              Structure and characteristics of the market. According to the CCAC, the “structure and

    characteristics of the market for securities, and in particular the lack of disclosure of short interest

    positions at any given time, make it conducive to collusion and anticompetitive conduct.” (Id.

    ¶ 362).

              High barriers to entry. An entrant to the financial services industry seeking to become a

    broker-dealer or a clearing firm would need specialized knowledge, several licenses, and

    memberships, including memberships in organizations such as FINRA. (See id. ¶ 365). In

    addition to licensure costs, compliance costs to adhere to industry and regulatory standards are

    significant. (See id.). Entrants would also need significant amounts of cash or capital to deposit

    at clearinghouses such as the DTCC as collateral. (See id. ¶ 366). And entrants would need to

    have the necessary technological infrastructure and expertise to navigate the digital market. (See

    id. ¶ 367).




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              High fixed costs and low variable costs. The markets for broker-dealers, clearing firms,

    and market makers are defined by high fixed costs and low variable costs. (See id. ¶ 368). These

    market participants benefit greatly from scale, particularly with regard to online broker-dealers

    and clearing firms.      (See id.).   Online broker-dealers, for example, require significant IT

    infrastructure, software, and data security infrastructure to develop and maintain the applications

    through which investors trade. (See id. ¶ 369). Clearing firms require similar infrastructures and

    software to facilitate the digital clearing and custodial services they provide to online broker-

    dealers.     (See id. ¶ 370).   Market makers — in particular, high frequency trading market

    makers — must invest significant effort and resources to increase the speed of trading technology

    to maximize their profits. (See id. ¶¶ 371–72).

              Commoditization. The Relevant Securities are homogenous products: one share in a

    Relevant Security is identical to another share in that security and thus can be substituted for

    another. (See id. ¶ 374). Competition in trading the Relevant Securities is purely based on price,

    which is determined by current market conditions. (See id.). The determinant of price is the

    relative supply and demand in investors who want to buy or sell shares in the Relevant Security,

    and price at one point in time is identical globally. (See id. ¶¶ 375–76).

              Captive market. In the short run, an investor in the securities market is generally locked

    into the broker-dealers it already invests with. (See id. ¶ 379). The process to open a trading

    account with a broker-dealer may take several days. (See id. ¶ 380). If coordinated trading

    restrictions occur in a short time window, investors do not have the opportunity to switch or change

    broker-dealers. (See id. ¶ 381). Even investors with multiple trading accounts may be without a

    short-term trading option if multiple broker-dealers restrict trading at the same time. (See id.

    ¶ 385).



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           Opaque market. While financial markets are generally regulated, important aspects of

    these are opaque. (See id. ¶ 386). Specifically, it is generally impossible to know who owns a

    short interest at any given time despite the prevailing regulatory regime. (See id. ¶¶ 387, 399).

    While an investor may voluntarily disclose its short positions, this does not occur often. (See id.

    ¶¶ 388, 399).

           To provide transparency to investors and the public, the SEC requires investment managers

    who have at least $100 million in assets under management to file a Form 13F up to 45 days after

    the end of every quarter. (See id. ¶¶ 389, 394). Disclosures in Form 13F filings, however, are

    limited: investors must only report long positions, put options, and call options, but not short

    positions; and 13F filings do not require the reporting of when a particular position was purchased,

    or in the case of put or call options, the strike price or expiry date. (See id. ¶¶ 391, 394–95).

           FINRA also requires member firms to report short interest positions in all equity securities

    twice a month, typically on the 15th and the last day of each month. (See id. ¶ 396). Even though

    FINRA publishes short interest reports publicly, it takes several days before the information is

    published — the number of shares sold short in the market may have changed dramatically in that

    time. (See id. ¶ 397).

           Although it is not possible to detect which specific investors are in large exposed short

    positions, the companies issuing securities can and sometimes do confirm if their stock has been

    significantly shorted or subject to a short squeeze. (See id. ¶ 400). For example, GameStop

    disclosed in its Form 10-K filed on March 23, 2021 that a large proportion of its stock had been

    sold short and that it experienced a short squeeze. (See id. ¶ 401).

           The CCAC and Defendants’ Motion. The CCAC alleges a violation of section 1 of the

    Sherman Act, 15 U.S.C. § 1, against all Defendants. (See CCAC ¶¶ 494–507). Plaintiffs’



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    overarching theory is that “Citadel Securities conspired with the Brokerage Defendants and the

    Clearing Defendants to prevent retail investors from purchasing shares of the Relevant Securities

    to artificially suppress share prices so that Citadel Securities could cover its short positions and

    mitigate its potential losses.” (Resp. 11).

           Defendants move to dismiss the CCAC. (See generally Mot.). They argue: (1) Plaintiffs

    fail to sufficiently plead that Defendants agreed to conspire; (2) Plaintiffs fail to plead the

    remaining elements of a Sherman Act section 1 claim; and (3) Plaintiffs’ antitrust theory is

    precluded by federal securities laws. (See generally Mot.; Reply).

                                       II.     LEGAL STANDARD

            “To survive a motion to dismiss [under Federal Rule of Civil Procedure 12(b)(6)], a

    complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (alteration added; quoting Bell

    Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although this pleading standard “does not

    require ‘detailed factual allegations,’ . . . it demands more than an unadorned, the-defendant-

    unlawfully-harmed-me accusation.” Id. (alteration added; quoting Twombly, 550 U.S. at 555).

    Pleadings must contain “more than labels and conclusions, and a formulaic recitation of the

    elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (citation omitted). “[O]nly

    a complaint that states a plausible claim for relief survives a motion to dismiss.” Iqbal, 556 U.S.

    at 679 (alteration added; citing Twombly, 550 U.S. at 556).

            To meet this “plausibility standard,” a plaintiff must “plead[] factual content that allows

    the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

    Id. at 678 (alteration added; citing Twombly, 550 U.S. at 556). “The mere possibility the defendant

    acted unlawfully is insufficient to survive a motion to dismiss.” Sinaltrainal v. Coca-Cola Co.,



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    578 F.3d 1252, 1261 (11th Cir. 2009) (citation omitted), abrogated on other grounds by Mohamad

    v. Palestinian Auth., 566 U.S. 449 (2012). When considering a motion to dismiss, a court must

    construe the complaint in the light most favorable to the plaintiff and take the factual allegations

    as true. See Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th Cir. 1997)

    (citing SEC v. ESM Grp., Inc., 835 F.2d 270, 272 (11th Cir. 1988)).

                                           III.    ANALYSIS

           As stated, Plaintiffs assert one claim under section 1 of the Sherman Act, 15 U.S.C. § 1.

    (See CCAC ¶¶ 494–507).

           Section 1 of the Sherman Act provides “[e]very contract, combination . . . , or conspiracy,

    in restraint of trade or commerce among the several States, or with foreign nations, is declared to

    be illegal.” 15 U.S.C. § 1 (alterations added). “Despite the different terminology, there is no

    magic unique to each term in [section] 1; the terms ‘contract,’ ‘combination,’ and ‘conspiracy’ are

    used interchangeably to capture the concept of concerted action, that is an ‘agreement.’” Am.

    Contractors Supply, LLC v. HD Supply Constr. Supply, Ltd., 989 F.3d 1224, 1233 (11th Cir. 2021)

    (alteration added; some quotation marks and citation omitted).

           “The purpose of the Sherman Act is to protect consumers from injury that results from

    diminished competition.” Agnew v. Nat’l Collegiate Athletic Ass’n, 683 F.3d 328, 334–35 (7th

    Cir. 2012) (citation omitted). “[T]he Supreme Court has long concluded that Congress intended

    only to prohibit ‘unreasonable’ restraints on trade.” Quality Auto Painting Ctr. of Roselle, Inc. v.

    State Farm Indem. Co., 917 F.3d 1249, 1260 (11th Cir. 2019) (alteration added; citation omitted).

    Thus, section 1 “prohibits (1) conspiracies that (2) unreasonably (3) restrain interstate or foreign

    trade.” Id. (citation omitted).

           In their Motion, Defendants start by attacking the sufficiency of the allegations directed at



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    the first requirement — that Plaintiffs plead a conspiracy among Defendants. (See Mot. 22–35).

    Defendants next dispute whether Plaintiffs adequately plead that the alleged agreement among

    Defendants unreasonably restrained trade.      (See id. 35–40).    Lastly, Defendants assert that

    Plaintiffs’ antitrust theory is precluded by federal securities laws. (See id. 41–46). Because

    Plaintiffs fail to plead a conspiracy, the Court declines to reach the second and third suggested

    grounds for dismissal.

           Conspiracy. “The first inquiry[] in any section 1 claim . . . is to locate the agreement that

    restrains trade.” Tidmore Oil Co., Inc. v. BP Oil Co./Gulp Prods. Div., a Div. of BP Oil Co., 932

    F.2d 1384, 1388 (11th Cir. 1994) (alterations added). Adequately stating a section 1 claim

    “requires a complaint with enough factual matter (taken as true) to suggest that an agreement was

    made.” Twombly, 550 U.S. at 556. The “crucial question” with regard to a conspiracy claim under

    section 1 “is whether the challenged anticompetitive conduct stems from independent decision or

    from an agreement, tacit or express[.]” Id. at 553 (alteration added; other alteration adopted;

    quotation marks and citation omitted). To allege an antitrust conspiracy, the plaintiff “should

    present direct or circumstantial evidence that reasonably tends to prove that the [defendant] and

    others had a conscious commitment to a common scheme designed to achieve an unlawful

    objective.” Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 764 (1984) (alteration added;

    quotation marks and citations omitted).

           Plaintiffs contend they have plausibly alleged facts, both direct and circumstantial, that

    “Citadel Securities conspired with the Brokerage Defendants and the Clearing Defendants to

    prevent retail investors from purchasing shares of the Relevant Securities to artificially suppress

    share prices so that Citadel Securities could cover its short positions and mitigate its potential

    losses.” (Resp. 11; see id. 12–29). The Court examines these allegations that purport to support



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    the existence of a conspiracy directly or circumstantially.

           Allegations of direct evidence of an agreement. “[I]t is only in rare cases that a plaintiff

    can establish the existence of a conspiracy by showing an explicit agreement; most conspiracies

    are inferred from the behavior of the alleged conspirators.” Seagood Trading Corp. v. Jerrico,

    Inc., 924 F.2d 1555, 1573–74 (11th Cir. 1991) (alteration added; citation omitted). According to

    Plaintiffs, “[t]his is one of those rare cases” that involves “direct evidence of [an] unlawful

    agreement.” (Resp. 14 (alterations added)). The Court disagrees.

           “Direct evidence of an agreement is explicit and requires no inferences to establish the

    proposition or conclusion being asserted.” In re Loc. TV Advert. Antitrust Litig., No. 18 C 6785,

    2020 WL 6557665, at *7 (N.D. Ill. Nov. 6, 2020) (quotation marks and citations omitted); see also

    Mayor & City Council of Balt. v. Citigroup, Inc., 709 F.3d 129, 136 (2d Cir. 2013) (“[A] plaintiff

    may . . . assert direct evidence that the defendants entered into an agreement in violation of the

    antitrust laws. . . . Such evidence would consist, for example, of a recorded phone call in which

    two competitors agreed to fix prices at a certain level.” (alterations added; citation omitted)). The

    CCAC contains several allegations that Plaintiffs claim constitute direct evidence. Upon further

    examination, each allegation requires an inference to establish that an unlawful agreement was

    entered into between Defendants and therefore cannot be direct evidence.

           To begin, Plaintiffs allege that “high-level executives of Citadel Securities regularly

    communicated with and coordinated with high-level executives of Robinhood and others in the

    lead up to, during and after the restrictions imposed on or around January 28, 2021.” (CCAC

    ¶ 296; see also Resp. 14). Yet, by Plaintiffs’ own admission, “[t]he written communications

    appear deliberately vague and do not describe the contents of what was agreed to in the

    communications.” (Resp. 14 n.6 (alteration added)). Indeed, the alleged communications between



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    Citadel Securities and Robinhood merely show that high-level executives at both firms agreed to

    “chat” and “work[] together.” (CCAC ¶¶ 299, 302 (alteration added); see id. ¶¶ 297–307, 452–

    53). The CCAC does not detail any subsequent discussions because “these communications have

    not been disclosed[.]” (Id. ¶ 303 (alteration added)). These unknown discussions have no

    relevance at all unless one infers that Citadel Securities requested that Robinhood restrict trading

    in the Relevant Securities and Robinhood agreed. 15

            Similarly, Plaintiffs claim that “on January 28, 2021, high level employees of [] E*Trade

    communicated with employees of Citadel Securities to ensure certain orders were cancelled.”

    (CCAC ¶ 315 (alteration added); see also Resp. 14). As support, the CCAC contains a screenshot

    of a January 28, 2021 email between the Senior Manager for Trading Operations for E*Trade and

    a Citadel Securities employee titled, “RE: Potential open orders[.]” (CCAC ¶ 316 (alteration

    added)). The E*Trade executive lists a number of securities and asks: “[c]an you confirm you’re

    out on these?” (Id. (alteration added)). The Citadel Securities employee responds, “[c]anceled[.]”

    (Id. (alterations added).

            As described by Defendants, this appears to be “no more than a routine daily trading

    account reconciliation email canceling ten trade orders, and Plaintiffs fail to allege that the email

    even pertains to the Relevant Securities.” (Reply 9). To conclude this email evidences an unlawful

    agreement to restrain trade requires an exercise in incredible leaping logic in which the Court

    declines to engage.



    15
       Plaintiffs find no support in In re Insurance Brokerage Antitrust Litigation, 618 F.3d 300, 324 n.23 (3d
    Cir. 2010). (See Resp. 14). There, the court explained that direct conspiracy includes “document[s] or
    conversation[s] explicitly manifesting the existence of the agreement in question[.]” In re Ins. Brokerage
    Antitrust Litig., 618 F.3d at 324 n.23 (alterations added; citations omitted). As Plaintiffs concede, the
    alleged conversations between Citadel Securities and Robinhood were “vague and do not describe the
    contents of what was agreed to in the communications” — in other words, the opposite of explicit. (Resp.
    14 n.6).
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            Plaintiffs also assert that Apex “instructed” several Introducing Brokerages “to halt all

    opening transactions of GameStop, AMC and Koss on their platforms” (CCAC ¶ 276; see id.

    ¶¶ 274–75), which purportedly is direct evidence of an unlawful agreement to restrain trade (see

    Resp. 14). The only specific details provided in the CCAC about these instructions are: (1) the

    CEO of Webull explained that the brokerage restricted trading in the Relevant Securities on

    January 28, 2021 because “the collateral required by Apex for GameStop increased by 100% and

    Apex had informed him that Webull needed to shut off the ability to open new positions in certain

    stocks[,]” and “Apex was instructed by the DTCC that it was increasing the collateral needed to

    settle trades for the Relevant Securities” (CCAC ¶ 274 (alteration added)); (2) SoFi informed users

    that its clearing partner, Apex, “ha[d] prevented purchases in GME” (id. ¶ 275 (alteration

    added)); (3) Dough LLC tweeted, “our clearing has notified us that we must set GME, AMC, and

    KOSS to closing only. We will comply.” (id. ¶ 276 (alteration adopted; quotation marks omitted));

    and (4) Public.com tweeted, “our clearing firm, Apex Holdings, has decided to halt the buying of

    $KOSS, $GME, and $AMC” (id. (alteration adopted; quotation marks omitted)).

           According to Plaintiffs, these Introducing Brokerages’ statements show an explicit

    agreement between Apex and the Introducing Brokerages to unlawfully restrain trade; curiously

    an alternative explanation for the trading restrictions is provided by the CEO of Webull himself

    and appears in the pleading’s factual allegations — “the DTCC . . . was increasing the collateral

    needed to settle trades for the Relevant Securities.” (Id. ¶ 274 (alteration added)). The CCAC

    provides further support for this alternative explanation: “on February 9, 2021, in its letter to the

    New Jersey Office of the Attorney General, Apex stated” that “[t]he reason for the temporary

    trading restrictions [it] imposed regarding purchases of AMC, GME and KOSS relates directly to

    the potential future collateral requirement that NSCC appeared it may impose on Apex as part of



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    the margin system NSCC maintains to comply with the SEC’s standards for covered clearing

    agencies.” (Id. ¶ 480 (alterations added)). This explanation makes sense because NSCC clearing

    members can “monitor their risk in near real-time and estimate clearing fund contribution

    requirements.”   (Id. ¶ 103).   Plaintiffs thus ask the Court to infer that the publicly stated

    explanations recited in the CCAC are untrue.

           It is important to remember that Plaintiffs’ conspiracy theory is that Citadel Securities

    influenced the Clearing Defendants and Brokerage Defendants to restrain trading in the Relevant

    Securities to protect itself from a short squeeze. Therefore, if the Introducing Brokerages’

    statements are to have any relevance to the alleged conspiracy at all, one must also infer that the

    true reason Apex instructed the Introducing Brokerages to restrict trading was to benefit Apex’s

    business partner, Citadel Securities. These statements clearly cannot constitute direct evidence of

    an unlawful agreement given the chain of inferences that must be made for them to have relevance.

           Plaintiffs proffer several other pieces of purported “direct evidence that Defendants acted

    in concert”: “an internal Robinhood communication . . . discussing that others were doing the

    same”; “Robinhood[’s] deci[sion] to impose purchasing restrictions on the Relevant Securities

    shortly after the NSCC margin call”; Defendants’ “homogenous public statements to explain the

    events”; and Apex’s warning to Robinhood “of efforts by investors to purchase the Restricted

    Securities even though Apex had no business relationship with Robinhood.” (Resp. 14–15

    (alterations added; footnote call numbers omitted)). Yet, by Plaintiffs’ own admission, these

    allegations — at the most — “demonstrate[] that the coordinated trading restrictions imposed by

    Defendants were not the result of happenstance or independent decision-making[.]” (Id. 15

    (emphasis and alterations added; footnote call number omitted)). Put differently, one can only

    infer an unlawful agreement was entered into based on these alleged facts.



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            Taken together, Plaintiffs fall far short of providing allegations “explicitly manifesting the

    existence of the agreement in question[.]” In re Ins. Brokerage Antitrust Litig., 618 F.3d at 324

    n.23 (alteration added; citations omitted).         Certainly, “the complaint leaves no doubt that

    [P]laintiffs rest their [section] 1 claim on descriptions of parallel conduct and not on any

    independent allegation of actual agreement among [Defendants].” Twombly, 550 U.S. at 564

    (alterations added). “Although in form a few stray statements speak directly of agreement, on fair

    reading these are merely legal conclusions resting on the prior allegations. . . . The nub of the

    complaint, then, is [Defendants’] parallel behavior, . . . and its sufficiency turns on the suggestions

    raised by this conduct when viewed in light of common economic experience.” Id. at 564–65

    (alterations added; footnote call numbers omitted).

            Allegations of circumstantial evidence of an agreement. As an alternative to alleging

    direct evidence, a plaintiff “may present circumstantial facts supporting the inference that a

    conspiracy existed.” Gamm v. Sanderson Farms, Inc., 944 F.3d 455, 465 (2d Cir. 2019) (quotation

    marks and citation omitted).         A conspiracy “may be inferred on the basis of conscious

    parallelism,[16] when such interdependent conduct is accompanied by circumstantial evidence and

    plus factors such as defendants’ use of facilitating practices.” Todd v. Exxon Corp., 275 F.3d 191,

    198 (2d Cir. 2001) (alteration added; citations omitted). In other words, “[a]llegations of parallel

    conduct . . . are insufficient standing alone to raise an inference of conspiracy[;]” rather, “a

    plaintiff must allege sufficient plus factors to make the parallel conduct more probative of

    conspiracy than of conscious parallelism.” Auto. Alignment & Body Serv., Inc. v. State Farm Mut.



    16
      Conscious parallelism is a “process, not in itself unlawful, by which firms in a concentrated market might
    in effect share monopoly power, setting their prices at a profit-maximizing, supracompetitive level by
    recognizing their shared economic interests and their interdependence with respect to price and output
    decisions.” Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 227 (1993) (citation
    omitted).
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    Auto. Ins. Co., 953 F.3d 707, 726 (11th Cir. 2020) (alterations added; quotation marks and citations

    omitted). Such plus factors “may include: a common motive to conspire, evidence that shows that

    the parallel acts were against the apparent individual economic self-interest of the alleged

    conspirators, and evidence of a high level of interfirm communications.” Citigroup, Inc., 709 F.3d

    at 136 (quotation marks, citation, and footnote call number omitted); see also In re Delta/AirTran

    Baggage Fee Antitrust Litig., 733 F. Supp. 2d 1348, 1360 (N.D. Ga. 2010) (explaining

    circumstantial evidence can include “speeches at industry conferences, announcements of future

    prices, statements on earnings calls, and in other public ways” (collecting cases)).

           Parallel conduct. “A plaintiff establishes parallel conduct when it pleads facts indicating

    that the defendants acted similarly.” SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d 412, 427

    (4th Cir. 2015) (quotation marks and citations omitted).          “Parallel conduct occurs when

    competitors act similarly or follow the same course of action — for example, adopting similar

    policies at or around the same time in response to similar market conditions.” Jones v. Micron

    Tech. Inc., 400 F. Supp. 3d 897, 915 (N.D. Cal. 2019) (citations omitted). Examples of parallel

    conduct allegations that suffice under the Twombly standard include “parallel behavior that would

    probably not result from chance, coincidence, independent responses to common stimuli, or mere

    interdependence unaided by an advance understanding among the parties[;]” and “complex and

    historically unprecedented changes in pricing structure made at the very same time by multiple

    competitors, and made for no other discernible reason[.]”         Twombly, 550 U.S. at 556 n.4

    (alterations added; quotation marks and citations omitted).

           Defendants argue the allegedly parallel conduct was not, in fact, parallel because it “varied

    in material ways, both before and after the NSCC’s collateral calls on January 28, 2021.” (Mot.

    26). Indeed, “each Defendant put in place restrictions for different stock symbols, for different



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    durations and for varying types of trades.” (Reply 11 (footnote call number omitted)). On January

    28, 2021, Robinhood set to position-closing only AMC, BB, BBBY, EXPR, GME, KOSS, NOK,

    TR, and TRVG (see CCAC ¶ 252); E*Trade “halted GME and AMC” (id. ¶ 250); Interactive

    Brokers “put AMC, BB, EXPR, GME, and KOSS option trading into liquidation only” (id. ¶ 249);

    and Apex instructed the Introducing Brokerages to “halt all opening transactions of GameStop,

    AMC and Koss on their platforms” (id. ¶ 276). As for ETC, the only allegation regarding its

    conduct is the general assertion that it “prohibited Alpaca from allowing its users to purchase the

    Relevant Securities.” (Id. ¶ 277).

           The restrictions among Defendants also varied in duration. For example, Apex lifted

    restrictions on trading by January 29, 2021 (see id. ¶ 327), while Robinhood maintained trading

    limitations on certain securities through February 4, 2021 (see id. ¶ 336). And one firm — Citadel

    Securities — did not impose any trading restrictions at all. (See generally CCAC; see Mot. 27).

           While the Court disagrees with Plaintiffs’ characterization of these restrictions as “virtually

    identical” (Resp. 17), Plaintiffs have at least alleged Defendants acted “similarly.” SD3, LLC, 801

    F.3d at 427 (quotation marks omitted; quoting Petruzzi’s IGA Supermarkets, Inc. v. Darling-Del.

    Co., Inc., 998 F.2d 1224, 1243 (3d Cir. 1993); other citation omitted). The key parallel conduct

    allegation here is that on January 28, 2021 the Brokerage Defendants and the Clearing Defendants

    each restricted trading in one or more of the Relevant Securities. (See, e.g., CCAC ¶¶ 14–15). As

    a result, the prices of the Relevant Securities decreased. (See id. ¶ 331). That the Brokerage

    Defendants and the Clearing Defendants did not restrict trading in the exact same manner or stock

    is not fatal to Plaintiffs’ allegations of parallelism. See Anderson News, L.L.C. v. Am. Media, Inc.,

    680 F.3d 162, 191 (2d Cir. 2012) (disagreeing with the district court’s holding that the plaintiff’s

    “conspiracy claim was implausible because [the] defendants had a variety of reactions” and instead



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    finding that “the key parallel conduct allegation was that all of the publisher and distributor

    defendants ceased doing business with [the plaintiff]” (alterations added; quotation marks,

    emphasis, and citation omitted)); 17 Jones, 400 F. Supp. 3d at 916 (“That these adjustments are not

    alleged to have occurred simultaneously is immaterial, and the available case law does not suggest

    any firm temporal limitation on ‘parallel.’” (citing Interstate Cir. v. United States, 306 U.S. 208,

    227 (1939))).

             Further, the fact that Citadel Securities did not itself restrict trading is inconsequential.

    Plaintiffs allege the Brokerage Defendants and the Clearing Defendants restricted trading to

    benefit Citadel Securities, who executed short trades in the Relevant Securities on January 27,

    2021, “in anticipation of the Relevant Securities declining in price on January 28, 2021.” (CCAC

    ¶ 13).   Plaintiffs contend they have pleaded a “hub-and-spoke conspiracy” wherein Citadel

    Securities “coordinate[d] [] horizontal agreement[s] to restrict markets or to fix prices.” (Resp. 34

    (alterations added; citations omitted)). In these scenarios, it is obvious that the “hub” would not

    necessarily take the same action as the “spoke.”

             In all, Plaintiffs adequately allege that Defendants engaged in parallel conduct. 18 But

    because Plaintiffs’ parallel conduct allegations are “insufficient standing alone to raise an

    inference of conspiracy[,]” the Court turns to whether Plaintiffs “allege sufficient plus factors to

    make the parallel conduct more probative of conspiracy than of conscious parallelism.” Auto.




    17
      Defendants’ reliance on Anderson News, L.L.C. v. American Media, Inc., 899 F.3d 87 (2d Cir. 2018), is
    inapt. (See Mot. 28). There, after initially finding at the motion-to-dismiss stage that the varied responses
    by the defendants were inconsequential to a finding of parallel conduct, see Anderson News, L.L.C., 680
    F.3d at 191, the Second Circuit held at the summary judgment stage that the defendants’ conduct “was not,
    in fact, parallel” because “evidence presented at summary judgment undercut[] th[e] allegation” of parallel
    conduct. Anderson News, L.L.C., 899 F.3d at 105 (alterations and emphasis added).
    18
      While the varied restrictions do not preclude a finding of parallel conduct at this stage, they do influence
    the Court’s plausibility analysis.
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    Alignment & Body Serv., 953 F.3d at 726 (alteration added; quotation marks and citations omitted).

           Plus Factors. “[A]ny showing by [plaintiffs] that tends to exclude the possibility of

    independent action can qualify as a plus factor.” Williamson Oil Co., Inc. v. Philip Morris USA,

    346 F.3d 1287, 1301 (11th Cir. 2003) (alterations added; other alteration adopted; quotation marks

    and citation omitted); see also In re Delta/AirTran Baggage Fee Antitrust Litig., 245 F. Supp. 3d

    1343, 1371 (N.D. Ga. 2017) (“There is no finite list of potential plus factors.”). The Court

    examines below each of the plus factors identified by Plaintiffs. (See Resp. 18–29).

           Common motive to conspire.         The CCAC details an intricate plot in which Citadel

    Securities purchased short positions in the Relevant Securities — even as the Retail Investors’

    trading activity increased the price of the Relevant Securities to extreme, historic levels — and

    then “leverage[d] its relationships” with the other Defendants “to halt trading of GameStop and

    other Relevant Securities and artificially depress their share price[s].” (CCAC ¶ 409 (alterations

    added)).

           As an initial matter, Defendants argue any allegation that Citadel Securities held short

    positions in the Relevant Securities during the relevant time period is based on “[p]ure

    speculation[.]” (Mot. 28 (alterations added; quotation marks omitted; citing United Am. Corp. v.

    Bitmain, Inc., No. 18-cv-25106, 2021 WL 1807782, at *13 (S.D. Fla. Mar. 31, 2021) (“Pure

    speculation does not make out a plus factor.”))). Notably, the CCAC admits “it is not possible to

    ascertain which investor has a short position in a particular security at any particular time unless

    the position is voluntarily publicly disclosed by the holder of the short position.” (CCAC ¶ 399;

    see also id. ¶ 387). Plaintiffs instead rely on publicly available data.

           As detailed in the CCAC, “FINRA data shows notable and significant increases in dark

    pool trading activity for each of the Relevant Securities on and around January 28, 2021” (id.



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    ¶ 353), and short volume reporting shows a significant shift from shares sold long to shares sold

    short during that time (see id. ¶ 361). Given that individual investors generally cannot engage in

    dark trading (see id. ¶ 357), and “Citadel Securities represents about 50% of the dark trading

    activity [during that time], a large shift in the percentage of sales represented by short trades is

    highly likely to be caused by a shift in Citadel Securities’s position from long to short or vice

    versa” (id. ¶ 360 (alteration added)).        Plaintiffs’ methodology is appropriate given the

    circumstances. See In re Plasma-Derivative Protein Therapies Antitrust Litig., 764 F. Supp. 2d

    991, 1002 n.10 (N.D. Ill. 2011) (“If private plaintiffs, who do not have access to inside information,

    are to pursue violations of the law, the pleading standard must take into account the fact that a

    complaint will ordinarily be limited to allegations pieced together from publicly available data.”).

    That Citadel Securities held short interests in the Relevant Securities is a reasonable inference to

    be drawn in Plaintiffs’ favor. See Spanish Broad. Sys. of Fla., Inc. v. Clear Channel Commc’ns,

    Inc., 376 F.3d 1065, 1069 n.1 (11th Cir. 2004).

           Plaintiffs’ theory regarding the Brokerage Defendants and Clearing Defendants’ motive is

    more attenuated. According to the CCAC, the Brokerage Defendants and Clearing Defendants

    agreed to halt trading to benefit Citadel Securities because Citadel Securities “is either the largest

    or one of the largest payors for order flow for most of them.” (CCAC ¶ 418). To illustrate, in

    2020, “34% of Robinhood’s revenue derived from transactions with Citadel Securities” (id. ¶ 135);

    and “Apex sent 23.26% of all ‘non-directed’ order flow to Citadel Securities in S&P 500 stocks

    and 13.26% of all ‘non-directed’ order flow for non-S&P500 stocks to Citadel Securities in

    January 2021” (id. ¶ 140). Plaintiffs conclude that “[t]he preservation of [the] Brokerage and

    Clearing Defendants’ mutually beneficial and highly lucrative payment for order flow

    relationships alone provides sufficient motive to conspire.” (Resp. 20 (alterations added)).



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            In essence, Plaintiffs ask the Court to infer the Brokerage Defendants and Clearing

    Defendants had a common motive to illegally restrain trade simply because Citadel Securities is

    an important business partner of the other Defendants and might have suffered losses as a result

    of its short positions in the Relevant Securities. Yet, as discussed below, Plaintiffs also maintain

    that “restrict[ing] trading in the Relevant Securities is against the Brokerage and Clearing

    Defendants’ self-interest” because they earn revenue from each transaction and because the trading

    restrictions create a risk of “both immediate and long-term reputational harm[.]” (Resp. 20, 22

    (alterations added; quotation marks omitted)). As Defendants note, there are no allegations that

    Citadel Securities threatened or suggested it would cut off business relationships with any other

    Defendants if they did not impose trading restrictions, and Plaintiffs fail to otherwise explain why

    each Defendant would not simply use another market maker in such a scenario. (See Reply 13).

    The mere fact that Citadel Securities is an important business partner of the other Defendants does

    not provide sufficient motive to conspire.

            Plaintiffs’ proffered motive theory is even less plausible given that the CCAC provides an

    “obvious alternative explanation” for imposing the trading restrictions provided in the

    CCAC: increased collateral requirements caused by market volatility. Iqbal, 556 U.S. at 682

    (quotation marks omitted; quoting Twombly, 550 U.S. at 567). As clearing entities, each of the

    Brokerage Defendants and Clearing Defendants is a member of the DTCC and therefore subject

    to its collateral requirements. (See CCAC ¶¶ 110, 116). “The DTCC collateral requirement

    changes depending on the perceived risk of the order, since if one side of the trade defaults, and

    the broker cannot cover the loss, DTCC member firms are on the hook for completing the trade.”

    (Id. ¶ 413).

            As stated in the CCAC, the markets for the Relevant Securities were extremely volatile in



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    the days leading up to January 28, 2021. (See id. ¶¶ 200–209). “On the morning of January 28,

    [the] DTCC demanded that its member clearing agents supply additional collateral to support these

    trades [in the Relevant Securities].” (Id.¶ 414 (alterations added)). For example, “[a]t 5:11 a.m.

    Eastern Standard Time, Robinhood received an email from NSCC indicating that Robinhood had

    a deficit of roughly $3 billion dollars.” (Id. ¶ 231 (alteration added)).

            Robinhood and multiple other Defendants cited the extraordinary market volatility and/or

    collateral requirements as the motivation for their trading restrictions. (See, e.g., id. ¶¶ 249–51,

    274, 338–40, 479–80). The fact that each Defendant implemented varying trading restrictions

    gives support to their stated reasons because each Defendant would have its own unique risk

    tolerance and collateral requirements. And considering the CCAC itself states that firms not

    alleged to be part of the conspiracy also restricted transactions in the Relevant Securities and

    similarly cited “unprecedented market conditions[,]” the Court finds Plaintiffs’ theory regarding

    motive implausible. (Id. ¶ 198 (alteration added); see id. ¶ 199).

            To recap, Plaintiffs adequately explain Citadel Securities’ motive for allegedly

    orchestrating the trading restrictions imposed by the Brokerage Defendants and Clearing

    Defendants. But the Court is unconvinced that Plaintiffs have set forth a coherent common motive

    as to the Brokerage Defendants and Clearing Defendants. This plus factor does not weigh in

    Plaintiffs’ favor.

            Actions against unilateral self-interest. “It is firmly established that actions that are

    contrary to an actor’s economic interest constitute a plus factor[.]” Williamson Oil, 346 F.3d at

    1310 (alteration added; citation omitted). Nonetheless, courts “must exercise prudence in labeling

    a given action as being contrary to the actor’s economic interests, lest we be too quick to second-

    guess well-intentioned business judgments of all kinds.” Id. (citation omitted). “[E]xtreme action



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    against self-interest . . . may suggest prior agreement — for example, where individual action

    would be so perilous in the absence of advance agreement that no reasonable firm would make the

    challenged move without such an agreement.” In re Musical Instruments and Equip. Antitrust

    Litig., 798 F.3d 1186, 1195 (9th Cir. 2015) (alterations added); see also City of Tuscaloosa v.

    Harcros Chems. Inc., 158 F.3d 548, 570 n.33 (11th Cir. 1998) (citations omitted).

              Defendants concede the trading restrictions imposed on January 28, 2021 were against their

    self-interest because the restrictions (1) “create[d] a real risk of both immediate and long-term

    reputational and financial harm (including this Action)” and (2) “cost each broker

    revenue — fewer trades mean fewer payments for order flow (or fewer commissions) for the

    Clearing and [Brokerage] Defendants, and less spread capture for the Market Makers[.]” (Mot.

    30–31 (alterations added); see Resp. 21–22).

              Nevertheless, the CCAC itself “provides ample independent business reasons” why each

    of the Brokerage Defendants and Clearing Defendants would have restricted trading without

    assurances that all other brokerages and clearing firms would restrict trading. In re Musical

    Instruments, 798 F.3d at 1195 (finding no action against self-interest at the motion-to-dismiss

    stage).    These Defendants faced historic market volatility and increased NSCC collateral

    requirements resulting from the volatility. Based on these allegations, Plaintiffs cannot credibly

    argue that “no reasonable firm” would have restricted trading in such circumstances. Id. In fact,

    the CCAC itself identifies firms not alleged to be part of the conspiracy that implemented

    restrictions on certain transactions involving the Relevant Securities on January 28, 2021. (See

    CCAC ¶¶ 198–99). Plaintiffs fail to make out a plus factor here.

              Opportunity to coordinate and collude.       Plaintiffs contend Defendants had ample

    opportunity to conspire because “[t]he financial industry is close-knit and secretive, replete with



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    specialized jargon and terminology[,]” and “[i]ndividuals within the industry frequently move

    from one company to another and often work closely with competitors.” (Resp. 23 (alterations

    added)). These are generic descriptions of features that many industries share. While it is perhaps

    necessary to allege some opportunity to conspire to infer a conspiracy, “the mere opportunity to

    conspire among antitrust defendants does not, standing alone, permit the inference of conspiracy.”

    Williamson Oil, 346 F.3d at 1319 (quotation marks and citation omitted); see also Twombly, 550

    U.S. at 567 n.12.

            Interfirm communications. 19 (See Resp. 23). “[E]vidence of a high level of interfirm

    communications” may constitute a plus factor. Citigroup, 709 F.3d at 136 (alteration added;

    footnote call number, quotation marks, and citation omitted). The CCAC alleges several interfirm

    communications, some of which warrant consideration here, while others do not.

            Beginning with those that do not — first, Apex warned Robinhood that the Retail Investors

    found a loophole around some of the trading restrictions imposed by Robinhood. (See CCAC

    ¶¶ 327–30). The CCAC explains “Apex had lifted restrictions on trading” by January 29, 2021.

    (Id. ¶ 327). While Plaintiffs claim this shows Apex was “policing the conspiracy” (id.), they fail

    to explain how this makes sense considering Apex had already lifted its trading restrictions by

    then. In any event, helping a competitor prevent fraudulent conduct is not an antitrust violation.

    See Cement Mfrs.’ Protective Ass’n v. United States, 268 U.S. 588, 604 (1925).

            Second, the CCAC includes what appears to be a routine email between E*Trade and

    Citadel Securities (i.e., a brokerage and its market maker) about cancelling a securities order

    between them. (See CCAC ¶¶ 315–16). Plaintiffs do not explain the email’s relevance.



    19
      This section addresses Plaintiffs’ arguments raised in their Response under both the “ample opportunity
    to coordinate and collude” and “acts [] inconsistent with unilateral conduct” sections. (Resp. 22–24, 28–
    29 (alteration added)).
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            Third and finally, several of the Introducing Brokerages reported that Apex “instructed

    them to halt all opening transactions of GameStop, AMC and Koss on their platforms.” (Id. ¶ 276;

    see id. ¶¶ 274–75, 443–44). Given that Apex served as these firms’ clearing entity and “was

    instructed by the DTCC that it was increasing the collateral needed to settle trades for the Relevant

    Securities[,]” these instructions are neither here nor there. (Id. ¶ 274 (alteration added); see id.

    ¶¶ 275–76).

            Now, the communications that do warrant consideration. Embedded in the CCAC are

    several vague and ambiguous emails between high-level executives of Robinhood and Citadel

    Securities and internal Robinhood emails discussing external conversations that, given the timing

    and overall context, could be inferred to relate to the trading restrictions imposed on January 28,

    2021.

            On January 20, 2021, Citadel Securities’ Head of Execution Services emailed Josh

    Drobnyk, Robinhood’s Vice President of Corporate Relations and Communications, stating he was

    happy they “will be working together” and asking Drobnyk to “let [him] know if [they are]

    interested and who the main contact should be.” (Id. ¶ 299 (alterations added; quotation marks

    omitted)).    On January 25, 2021, Drobnyk replied “[w]e are on board” and copied Lucas

    Moskowitz, Robinhood’s Deputy General Counsel, who was “going to be [Robinhood’s] central

    point of contact[.]” (Id. ¶ 300 (alterations added)).      Moskowitz and the Citadel Securities

    executive then arranged a call for the morning of January 26, 2021 — the details of which are

    unknown. (See id. ¶¶ 302–03). Considering the CCAC admits the details of this agreement or

    discussion are unknown, these emails are only relevant given their timing.

            Around 4:40 p.m. EST on January 27, 2021, Gretchen Howard, Robinhood’s COO,

    messaged Vlad Tenev, Robinhood’s CEO, that she, along with Daniel Gallagher and Jim



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    Swartwout, Robinhood’s Chief Legal Officer and Robinhood Securities’ President and CEO,

    would be joining “a call with Citadel” at 5 p.m. that day. (Id. ¶ 307; see id. ¶ 305). Howard told

    Tenev that she believed Citadel Securities would “make some demands on limiting [payment for

    order flow] across the board” but that they “won’t agree to anything[.]” (Id. ¶ 307 (alterations

    added)). Tenev told Howard that although he had never met Ken Griffin, the CEO of Citadel

    Securities, she could mention on the call that “this would be a good time for [Tenev] to chat with

    [] Griffin[.]” (Id. (alterations added)). The request from a market maker to limit the order flow

    sent to it is not equivalent to a demand to restrict trading in certain securities; however, the timing

    and the involvement of high-level executives render these emails relevant.

           Roughly two hours later, Swartwout received an internal message stating there was

    “[a]necdotal evidence that several ‘very large’ firms are having really bad nights too”; to which

    Swartwout replied, “everyone is. [Y]ou wouldnt [sic] believe the conv[ersation] we had with

    Citadel. [T]otal mess[.]” (Id. ¶ 308 (alterations added)). Around 8:30 p.m. that night, Swartwout

    emailed Citadel Securities’ Vice President of Business Development to offer to set up a call that

    night with Tenev, and mentioned Tenev would like to have a discussion with Griffin at some point,

    given their relationship, but “[n]ot specific to this crazy issue[.]” (Id. ¶ 313 (alterations added);

    see id. ¶¶ 311–12). After the Citadel Securities executive asked Swartwout if Tenev would like to

    have the call that night, Swartout declined and said: “[j]ust looking for your dictated schedule and

    caps. I have 20 minutes until batch so whatever it is we are not going to be able to address it

    tomorrow given the notice. I have to say I am beyond disappointed in how this went down. It’s

    difficult to have a partnership when these kind[s] of things go down this way.” (Id. ¶ 313

    (alterations added)). Again, these emails are vague and ambiguous, and are only relevant

    considering the timing and those involved.



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           On the morning of January 28, 2021, after Robinhood set AMC and GME to PCO, David

    Dusseault, Robinhood Financial’s President and COO, informed Robinhood’s Manager of Market

    Operations that “[Robinhood Securities] received a very large call — confidentially. [A]ll firms

    on street . . . are doing [the] same thing[.]” (Id. ¶ 244 (quotation marks omitted; alterations

    added)). The CCAC does not assert who was on this call.

           Lastly, on January 30, 2021, a Citadel Securities executive informed Drobnyk that he

    “wanted to generally coordinate messaging” and copied on the email Robinhood’s “[General

    Counsels] as an FYI and for privilege.” (Id. ¶ 335 (alteration added); see id. ¶¶ 332–33). The two

    then arranged an “[u]rgent” phone call. (Id. ¶ 335 (alteration added)). Given the context of the

    preceding communications and the fact that this request to coordinate messaging occurred even as

    Robinhood continued to restrict trading in the Relevant Securities, these emails — while vague

    and ambiguous — do lend some credence to Plaintiffs’ conspiracy theory.

           Defendants insist each of these communications between Citadel Securities and Robinhood

    “reflect[s] ordinary business dealings between a Market Maker and its client.” (Mot. 32 (alteration

    added; footnote call number omitted)). But given the timing, the players involved, and the fact

    that each of these emails could be inferred to relate to the trading restrictions imposed on January

    28, 2021, Plaintiffs’ allegations of interfirm communications are supportive of a conspiracy.

           The support is thin, however. Plaintiffs cite to the undersigned’s opinion in In re Salmon,

    No. 19-21551-Civ, 2021 WL 1109128 (S.D. Fla. Mar. 23, 2021), but the allegations here are hardly

    comparable. (See Resp. 22–24). There, the plaintiffs “point[ed] to bilateral and multilateral

    agreements not to compete and a high level of communications among [d]efendants,” including

    complete details of multiple meetings, such as who was in attendance, when the meetings occurred,

    and the contents of those communications. In re Salmon, 2021 WL 1109128, at *15 (alterations



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    added). Here, Plaintiffs concede they do not know what was discussed during the several calls

    between Robinhood and Citadel Securities executives.

            In addition, the CCAC lacks specific allegations of interfirm communications between any

    other alleged co-conspirator. The Court thus finds no support here for a reasonable inference of a

    conspiracy involving any other Defendants.

            In sum, Plaintiffs establish a plus factor here supporting, albeit weakly, an inference of a

    conspiracy between Robinhood and Citadel Securities.

            Evidence of concealment and pretext. Plaintiffs contend “[u]nrecorded communications

    between coconspirators are hallmarks of antitrust conspiracies[,]” suggesting the simple fact that

    Robinhood and Citadel Securities 20 arranged to have discussions over the phone instead of

    exchanging information via email supports an inference of an illegal conspiracy. (Resp. 24–25

    (alterations added; citations omitted)). The Court is not convinced such a proposition supports

    plausibility on a motion to dismiss.

            In this regard, Plaintiffs cite In re Flat Glass Antitrust Litigation, 385 F.3d 350, 364–65

    (3d Cir. 2004), wherein the court noted a coconspirator asked another coconspirator to call

    him — one minor fact among a litany of allegations. (See Resp. 24). It is not clear that the phone

    call was important to the court’s analysis.

            Plaintiffs also cite In re Urethane Antitrust Litigation, 913 F. Supp. 2d 1145, 1154–56 (D.

    Kan. 2012). (See Resp. 24–25). There, at summary judgment the court did find persuasive

    circumstantial evidence “that the alleged conspirators undertook to maintain the secrecy of their

    communications, particularly those involving pricing.” 913 F. Supp. 2d at 1155. The court relied



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      In their Response, Plaintiffs also refer to phone calls between Apex and the Introducing Brokerages it
    serves. (See Resp. 24). As explained, absent animating details, the Court declines to find these phone calls
    suggestive of an illegal agreement.
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    on numerous, detailed facts indicating efforts to maintain secrecy, for example: coconspirators

    made calls “from a pay phone at a gas station using a prepaid credit card”; at a particular meeting

    with competitors, coconspirators “went outside to discuss pricing, in order to avoid listening

    devices in the facility”; the coconspirators’ “reports of the meeting excluded their pricing

    discussion”; at the same meeting, coconspirators shared documents containing pricing information

    after “assurances that the document would be destroyed”; and coconspirators left trade association

    meetings to “conduct future price discussions at an off-site coffee shop so that the men could talk

    in confidence[.]” Id. at 1155–56 (alteration added); see id. at 1161–63.

            The only similarity between the allegations in the present case and the record in In re

    Urethane is that alleged coconspirators made phone calls around the time the alleged

    anticompetitive conduct occurred. Upon further examination, however, even this shared fact is

    not helpful to Plaintiffs.

            The coconspirators in In re Urethane were direct competitors conspiring to fix

    prices — the fact that they would have numerous phone calls around the time of price increase

    announcements is highly suspicious. See id. at 1149, 1155–56. Here, Citadel Securities is

    Robinhood’s most important business partner. It surely is not unusual for two firms in an ongoing

    business relationship to have conversations over the phone; and Plaintiffs admit they do not know

    the substance of these conversations. (See CCAC ¶ 461). The Court will not infer a conspiracy

    simply because two business partners chose to use phones to communicate.

            In addition to these allegations of concealment, Plaintiffs insist they have set forth

    “pretextual statements” made by Robinhood and Apex “that provide evolving, inconsistent and

    conflicting explanations for the trading restrictions.” (Resp. 25 (footnote call number omitted)).

    Plaintiffs first point to the fact that Robinhood “initially attributed the trading restrictions to market



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    volatility, only to later assert that clearinghouse collateral requirements forced Robinhood to

    impose said restrictions.” (Id.). Defendants counter that those statements were not inconsistent

    and conflicting because “market volatility led to the increased collateral requirements.” (Reply

    14). Defendants have the better argument.

           Indeed, the CCAC itself explains that collateral requirements change because “the DTCC

    may assign a volatility multiplier on certain securities which the DTCC perceives as having more

    risk.” (CCAC ¶ 470). And the fact that Robinhood continued to impose restrictions after meeting

    its collateral requirements is of no moment because the trading restrictions “reduce[d] the volatility

    multiplier on the collateral that Robinhood Securities was required to post with the NSCC.” (Reply

    15 (alteration added); see Resp. 25; CCAC ¶ 470). It is not suspicious for Robinhood to strive to

    avoid higher collateral requirements.

           Plaintiffs next cite several Robinhood statements that they assert conflict with its COO,

    Gretchen Howard’s internal message that Robinhood had a “major liquidity issue” as it set certain

    Relevant Securities to PCO in the early morning of January 28, 2021. (CCAC ¶ 233; see Resp.

    25). Later that day, “Robinhood posted on its blog that market volatility was the reason for the

    restrictions.” (CCAC ¶ 466). In addition, Robinhood’s CEO, Vlad Tenev, publicly stated “that

    the shutdowns were unrelated to Robinhood’s liquidity and that Robinhood did not have a liquidity

    problem.” (Id. ¶ 467). Tenev later testified before the House Financial Services Subcommittee

    “that trading restrictions were put in place to meet regulatory deposit requirements imposed by

    DTCC affiliate NSCC.” (Id. ¶ 469; see also id. ¶ 340).

           These statements are not conflicting because Howard’s internal message stating Robinhood

    had a “major liquidity issue” came shortly after Robinhood “received an email from NSCC

    indicating that Robinhood had a deficit of roughly $3 billion dollars.” (Id. ¶¶ 231, 233). Even



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    viewing the pleading in the light most favorable to Plaintiffs, Howard was likely referring to

    Robinhood’s ability to pay the increased collateral requirements caused by the market volatility,

    which is consistent with Robinhood later placing the blame on these collateral requirements.

            Finally, Plaintiffs again refer to Apex’s “conflicting explanations as to why it restricted

    trading.”   (Resp. 25).     According to Plaintiffs, “[a]lthough Apex cited increased collateral

    requirements as the reason for the restrictions, Apex later admitted that it was not subject to any

    heightened collateral requirements but rather made the decision to restrict trade based solely on a

    ‘potential future’ collateral requirement despite having sufficient capital and available lines of

    credit.” (Id. (alteration added)).

            As further explained in the CCAC, Apex had told state regulators it imposed restrictions

    because of “the potential future collateral requirement that NSCC appeared it may impose on

    Apex” (CCAC ¶ 480 (emphasis added)); and Apex’s President explained that Apex restricted “due

    to anomalous information” (id. ¶ 481 (quotation marks omitted)). Considering Apex lifted its

    restrictions after one day, this explanation makes sense. (See id. ¶ 327). As Defendants put it:

    “the market volatility in late January 2021 was extraordinary, with events occurring quickly to

    meet market and clearinghouse demands. Therefore, it is understandable that earlier-in-time

    internal Robinhood and Apex communications, as Plaintiffs identified, did not reflect final

    information later presented publicly.” (Reply 15). 21

            In total, Plaintiffs do not make out a plus factor here.

            Government investigations.          Plaintiffs maintain the investigations of “the events

    concerning the January 28, 2021 trading restrictions” by “[t]he [SEC], FINRA, Congress, the


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      Contrary to Plaintiffs’ suggestion, the fact that government regulators did not directly call on Defendants
    to restrict trading is inconsequential (see Resp. 25 n.18), because the restrictions lowered the volatility
    multiplier that determines DTCC collateral requirements (see, e.g, CCAC ¶ 470).


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    Department of Justice, the San Francisco U.S. Attorney’s Office, and the Attorneys General of

    various states” are indicative of collusion among Defendants. (Resp. 26 n.20 (alterations added)).

    The CCAC does not allege, however, that any of these authorities is investigating possible

    collusion among Defendants. (See CCAC ¶¶ 486–93). In fact, Plaintiffs concede “there is simply

    no evidence to suggest that the SEC is investigating the claims of concerted activity at issue here.”

    (Resp. 45 (footnote call number and citation omitted)).

            Defendants do not disagree that government investigations can bolster conspiracy

    allegations. (Compare Mot. 33, and Reply 15, with Resp. 26). They instead correctly note that

    where “allegations are sparse, the existence of government inquiries is insufficient to raise an

    inference of conspiracy.” (Mot. 33 (alteration adopted; quotation marks and citations omitted));

    see also e.g., In re Loc. TV Advert., 2020 WL 6557665, at *8 (collecting cases). Such is the case

    here.   Given the thin allegations overall, and the fact that Plaintiffs have not alleged an

    investigation specifically into concerted activity among Defendants, Plaintiffs fail to establish a

    plus factor here.

            Structural characteristics of the market. Plaintiffs contend they have alleged “economic

    market factors [that] paint a picture of a market whose characteristics make it ripe for collusion in

    violation of the antitrust law.” (Resp. 28 (alteration added)). While the CCAC does allege the

    existence of several characteristics that each tend to make a market susceptible to anticompetitive

    conduct and unlawful collusion, Plaintiffs present an incoherent market definition. (See CCAC

    ¶¶ 362–405).

            In their Response, Plaintiffs argue that “the CCAC makes clear that the relevant market to

    which [they] refer is the securities market.” (Resp. 26 (alteration added)). But the CCAC is hardly

    a model of clarity on this point. (See Mot. 34). Although Plaintiffs do not elaborate, it appears



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    from the CCAC that Plaintiffs are attempting to define multiple markets — one for each Relevant

    Security — by stating “[t]he Relevant Securities are commodity (homogenous) products.” (CCAC

    ¶ 374 (alteration added)). To complicate matters further, the CCAC also confusingly discusses

    characteristics of “[t]he markets for broker dealers, clearing firms and market making[.]” (Id.

    ¶ 368 (alterations added)). The Court is thus unable to discern from the CCAC what the alleged

    market definition is.

              Moreover, Plaintiffs fail to grapple with Defendants’ argument that the case is unlike the

    typical price-fixing conspiracies where this plus factor is invoked. (See Mot. 34). In each of the

    cases cited by Plaintiffs — all of which involve price-fixing conspiracies — the defendants

    utilized their market power to raise the prices of goods they sold. (See Resp. 26–28 (citing In re

    Salmon, 2021 WL 1109128, at *14; In re Disposable Contact Lens Antitrust, 215 F. Supp. 3d

    1272, 1295–96 (M.D. Fla. 2016); In re Ethylene Propylene Diene Monomer (EPDM) Antitrust

    Litig., 681 F. Supp. 2d 141, 169 (D. Conn. 2009); In re High Fructose Corn Syrup Antitrust Litig.,

    295 F.3d 651, 656–58 (7th Cir. 2002))). Here, Plaintiffs allege that the Brokerage Defendants and

    Clearing Defendants restricted output to lower prices for securities they are not alleged to have

    bought or sold for their own accounts, all to benefit the Market Maker Defendant who actually

    engages in such transactions. Plaintiffs do not address this distinction at all and do not provide

    any legal authority supporting the application of this plus factor to their novel anticompetitive

    theory.

              In short, Plaintiffs fail to coherently define a market and persuade the Court that this plus

    factor weighs in their favor.

                                                      ***

              What factual allegations are left standing that support a plausible inference of a conspiracy?



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    Well, there are none — other than an allegation of parallel conduct — with respect to Defendants,

    E*Trade, Interactive Brokers, Apex, ETC, and PEAK6. Each of these Defendants therefore must

    be dismissed because “an allegation of parallel conduct and a bare assertion of conspiracy will not

    suffice” to state a section 1 claim. Twombly, 550 U.S. at 556.

           That leaves Robinhood and Citadel Securities. High-level executives at these firms

    exchanged various vague and ambiguous emails immediately before and after Robinhood imposed

    trading restrictions on the Relevant Securities on January 28, 2021. These emails set up telephone

    discussions between the executives, the substance of which is unknown to Plaintiffs. Admittedly,

    these emails may be somewhat suspicious given the participants and their timing. But are a few

    vague and ambiguous emails between two firms in an otherwise lawful, ongoing business

    relationship enough to “nudge[] [Plaintiffs’] claims across the line from conceivable to

    plausible[?]” Id. at 570 (alterations added). The Court thinks not.

           Accordingly, the CCAC is dismissed.

                                         IV.     CONCLUSION

           For the foregoing reasons, it is

           ORDERED AND ADJUDGED that Defendants’ Motion to Dismiss the Antitrust Tranche

    Complaint [ECF No. 408] is GRANTED. The Corrected Consolidated Class Action Complaint

    [ECF No. 416] is DISMISSED without prejudice. Plaintiffs have until December 20, 2021 to

    file their final amended complaint in the Antitrust Tranche of this Multidistrict Litigation.

           Plaintiffs’ Motion to Strike Defendant Citadel Securities LLC’s Notice of Supplemental

    Authority [ECF No. 437] is DENIED as moot.




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          DONE AND ORDERED in Miami, Florida, this 17th day of November, 2021.



                                            ________________________________________
                                            CECILIA M. ALTONAGA
                                            CHIEF UNITED STATES DISTRICT JUDGE

    cc:   counsel of record
          Pro Se Plaintiffs




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